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 4   Telephone: (916) 554-2932
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 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,            )    CASE NO. 2:10-cr-00413 MCE
11                                        )
                        Plaintiff,        )    STIPULATION AND ORDER
12                                        )
     v.                                   )    DATE: March 22, 2012
13                                        )    TIME: 9:00 a.m.
                                          )    COURT: Hon. Morrison C. England
14   HUGO CHAVEZ-DELACRUZ,                )
                                          )
15                                        )
                        Defendant.        )
16                                        )
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          IT IS HEREBY STIPULATED by and between Assistant United
18
     States Attorney Paul Hemesath, counsel for Plaintiff, and Gilbert
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     Roque, counsel for defendant Hugo Chavez DELACRUZ, that the above
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     status conference be rescheduled from this Court’s March 22, 2012,
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     calendar, and that the matter be re-calendared for April 26, 2012, at
22
     9:00 a.m.   This request is made jointly by the government and defense
23
     in order to permit time for continued preparation, including
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     investigation which is currently in progress, and plea negotiations.
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          The parties agree that the interests of justice served by
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     granting this continuance outweigh the best interests of the public
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     and the defendant in a speedy trial.
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 1          IT IS FURTHER STIPULATED that time be excluded between through
 2   April 26, 2012, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code
 3   T-4.
 4
 5   Dated: March 20, 2012                    /s/ Paul Hemesath
                                              Paul Hemesath
 6                                            Assistant United States Attorney
                                              Counsel for Plaintiff
 7
 8   Dated: March 20, 2012                    /s/ Gilbert Roque
                                              Gilbert Roque
 9                                            Counsel for Defendant
                                              Hugo Chavez DELACRUZ
10
11                                      O R D E R
12          Finding that the interests of justice served by granting this
13   continuance outweigh the best interests of the public and the
14   defendant in a speedy trial, IT IS SO ORDERED.
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     Dated: March 28, 2012
16
17                                        _____________________________
18                                        MORRISON C. ENGLAND, JR.
                                          UNITED STATES DISTRICT JUDGE
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